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         Counsel for Defendants National
     9   Football League, NFL Enterprises LLC,
         and the Individual NFL Clubs
    10
         [Additional Counsel Listed on Signature
    11   Pages]
    12
                                      UNITED STATES DISTRICT COURT
    13
                                   CENTRAL DISTRICT OF CALIFORNIA
    14

    15

    16 IN RE: NATIONAL FOOTBALL                      Case No. 2:15-ml-02668-PSG (JEMx)
       LEAGUE’S “SUNDAY TICKET”
    17 ANTITRUST LITIGATION,
                                                     THE NFL DEFENDANTS’
    18   _______________________________             APPLICATION UNDER LOCAL
                                                     RULE 79-5 TO FILE DOCUMENTS
    19   THIS DOCUMENT RELATES TO:                   UNDER SEAL
         ALL ACTIONS.
    20                                               Judge: Hon. Philip Gutierrez
    21
                                                     Date: January 13, 2023
    22                                               Time: 1:30 p.m.
    23                                               Courtroom:
                                                           First Street Courthouse
    24                                                     350 West 1st Street
    25                                                     Courtroom 6A
                                                           Los Angeles, CA 90012
    26

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         Case No. 2:15-ml-02668-PSG (JEMx)          The NFL Defendants’ Application Under Local Rule 79-5 to File
                                                    Documents Under Seal
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     1           TO THE ABOVE-CAPTIONED COURT AND TO PLAINTIFFS AND
     2   THEIR COUNSEL OF RECORD:
     3           PLEASE TAKE NOTICE that pursuant to Local Rule 79-5.2.2(b), the NFL
     4   Defendants, by and through their counsel of records, hereby submit this application
     5   requesting that the Court lodge provisionally under seal the following documents
     6   (lodged concurrently herewith):
     7           1. The sealed Declaration of Rakesh N. Kilaru in Support of NFL
     8                 Defendants’ Application Under Local Rule 79-5 to File Documents Under
     9                 Seal.
    10           2. The unredacted version of the NFL Defendants’ Memorandum in
    11                 Opposition to Plaintiffs’ Motion for Class Certification.
    12           3. Exhibit 1 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    13                 Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
    14           4. Exhibit 2 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    15                 Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
    16           5. Exhibit 3 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    17                 Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
    18           6. The unredacted version of Exhibit 4 to the Declaration of Rakesh N.
    19                 Kilaru in Support of the NFL Defendants’ Opposition to Plaintiffs’
    20                 Motion for Class Certification.
    21           7. The unredacted version of Exhibit 5 to the Declaration of Rakesh N.
    22                 Kilaru in Support of the NFL Defendants’ Opposition to Plaintiffs’
    23                 Motion for Class Certification.
    24           8. The unredacted version of Exhibit 6 to the Declaration of Rakesh N.
    25                 Kilaru in Support of the NFL Defendants’ Opposition to Plaintiffs’
    26                 Motion for Class Certification.
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          Case No. 2:15-ml-02668-PSG (JEMx)               The NFL Defendants’ Application Under Local Rule 79-5 to File
                                                          Documents Under Seal
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     1          9. The unredacted version of Exhibit 7 to the Declaration of Rakesh N.
     2                Kilaru in Support of the NFL Defendants’ Opposition to Plaintiffs’
     3                Motion for Class Certification.
     4          10. Exhibit 8 to the Declaration of Rakesh N. Kilaru in Support of the NFL
     5                Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
     6          11. The unredacted version of Exhibit 9 to the Declaration of Rakesh N.
     7                Kilaru in Support of the NFL Defendants’ Opposition to Plaintiffs’
     8                Motion for Class Certification.
     9          12. Exhibit 10 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    10                Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
    11          13. Exhibit 11 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    12                Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
    13          14. Exhibit 12 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    14                Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
    15          15. Exhibit 13 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    16                Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
    17          16. Exhibit 14 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    18                Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
    19          17. Exhibit 15 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    20                Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
    21          18. Exhibit 16 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    22                Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
    23          19. Exhibit 17 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    24                Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
    25          20. Exhibit 18 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    26                Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
    27          21. Exhibit 19 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    28                Defendants’ Opposition to Plaintiffs’ Motion for Class Certification.
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         Case No. 2:15-ml-02668-PSG (JEMx)              The NFL Defendants’ Application Under Local Rule 79-5 to File
                                                        Documents Under Seal
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     1          Given confidentiality and commercial sensitivity issues, the NFL Defendants
     2   request the Court to seal and redact the designated documents.                            Pursuant to
     3   communications regarding confidentiality issues, the Plaintiffs and third-parties
     4   DirecTV, CBS, and Fox requested that the NFL Defendants move the Court to seal
     5   and redact the designated documents.
     6
         Dated: November 4, 2022
     7                                       By: /s/ Rakesh N. Kilaru
                                                 Beth A. Wilkinson (admitted pro hac vice)
     8                                           Brian L. Stekloff (admitted pro hac vice)
                                                 Rakesh N. Kilaru (admitted pro hac vice)
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    24
                                                 Counsel for Defendants National Football
    25                                           League, NFL Enterprises LLC, and the
                                                 Individual NFL Clubs
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         Case No. 2:15-ml-02668-PSG (JEMx)             The NFL Defendants’ Application Under Local Rule 79-5 to File
                                                       Documents Under Seal
